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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 19-cv-21724-BLOOM/McAliley

  HAVANA DOCKS CORPORATION,

         Plaintiffs,

  v.

  CARNIVAL CORPORATION,

        Defendant.
  ________________________________/

                                      FINAL JUDGMENT

         THIS CAUSE is before the Court following the Court’s Order granting Plaintiff’s Motion

  for Entry of Judgment, see Case No. 19-cv-23591 ECF No. [452]. In accordance with Rule 58 of

  the Federal Rules of Civil Procedure, it is ORDERED AND ADJUDGED as follows:

         1. Judgment is entered in favor of Plaintiff Havana Docks Corporation and against

             Carnival Corporation.

         2. Plaintiff is awarded $109,671,180.90 in damages. This sum consists of $9,179,700.88,

             the amount of the claim certified by the Foreign Claims Settlement Commission, and

             $27,377,359.42 in interest, which amounts are trebled pursuant to 22 U.S.C.

             § 6082(a)(3)(C)(ii).

         3. In addition, Plaintiff is awarded $3,464,764.69 in attorneys’ fees, and $223,766.78 in

             costs.

         4. Post-judgment interest shall accrue on this Final Judgment pursuant to 28 U.S.C.

             § 1961.
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         5. To the extent not otherwise disposed of, all pending motions are denied as MOOT and

               all deadlines are TERMINATED.

         6. This case shall remain closed.

         DONE AND ORDERED in Chambers at Miami, Florida, on December 30, 2022.




                                                      _________________________________
                                                      BETH BLOOM
                                                      UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record




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